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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *            CRIM. NO. PX-21-262
                                                 *
 DAVON HAMMOND,                                  *
                                                 *
        Defendant.                               *
                                              *******

    GOVERNMENT’S OMNIBUS RESPONSE IN OPPOSITION TO DEFENDANT’S
    MOTION TO DISMISS FOR BRADY VIOLATION AND MOTION TO OBTAIN
                    COPIES OF SEALED PLEADINGS

       The United States of America, by and through Erek L. Barron United States Attorney for

the District of Maryland, and Jared Engelking, Special Assistant United States Attorney, submits

this Omnibus Response in Opposition to ECF 111 and 113, filed pro se by the Defendant, and

construed by this Court as a Motion to Dismiss for Brady Violation, and a Motion to Obtain Copies

of Sealed Pleadings, respectively. For the reasons stated below, the Court should deny the

Defendant’s motions without a hearing.

                                        BACKGROUND

       On July 7, 2021, the Defendant was charged by complaint with assaulting an intimate

partner and transporting a handgun on a highway. ECF 1. At the Defendant’s initial appearance

that same day, the magistrate judge appointed the Federal Public Defender’s office to represent

him. The grand jury returned an indictment on July 14, 2021 that charged the Defendant with

being a felon in possession of a firearm, in violation of 18 U.S.C. § 922(g), and assault resulting

in substantial bodily injury to an intimate partner, in violation of 18 U.S.C. § 113(a)(7). The

Assistant Public Defender filed her line of appearance that same day.




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       In the next few months, the Defendant, represented by the Federal Public Defender’s

office, filed several pretrial motions and responded to motions filed by the Government. ECF

23, 24, 25, 31, 36, 37, 61, 66, 68. The Court issued a scheduling order that set trial for begin

May 9, 2022. ECF 44.

        On April 18, 2022, apparently as a result of communications among the Defendant, his

defense counsel, and the Court, this Court set the case for an attorney inquiry hearing before a

magistrate judge. ECF 70. The Government was not present at that hearing, which occurred

April 20, 2022. ECF 76. After that hearing, the public defender was stricken as counsel, and

new CJA counsel was appointed to represent the defendant. The Government promptly provided

CJA counsel with all discovery materials and the Government’s proposed trial documents,

including voir dire and jury instructions, along with copies of pleadings filed by the Government.

       Meanwhile, the Defendant continued his pro se attempts to correspond with the Court,

and on April 28, 2022, this Court held an in-person status hearing to respond to the Defendant’s

request that he represent himself. The Court was unable to complete the hearing and conduct the

Faretta inquiry because the Defendant would not respond to the Court’s questions. ECF 76.

Newly appointed defense counsel was present.

       On May 2, 2022, the case was called for a virtual status hearing. During the hearing, the

Defendant still would not respond to the Court questions. He kept speaking, interrupted the

Court, and refused to listen to the judge. The hearing again ended without a ruling and was reset

to May 10, 2022. ECF 83. Appointed defense counsel was present.

       On May 10, 2022, the hearing convened in person. The Court painstakingly explained to

the Defendant his right to counsel and right to represent himself. Ultimately, at the request of the

Defendant, and following an inquiry consistent with Faretta v. California, 422 U.S. 806 (1975),



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the Court ruled that the Defendant was competent to represent himself. Previously appointed

defense counsel remained in the case to provide stand-by assistance. ECF 86.

          Once the Court ruled that the Defendant could represent himself, the Defendant

announced that he wanted to plead guilty to the indictment without a plea agreement. The Court

recessed to allow the parties to discuss a plea. Upon reconvening, the Court conducted a hearing

pursuant to Federal Rule of Criminal Procedure 11 and the Defendant entered guilty pleas, pro

se, to both counts of the indictment. The Court, after finding that the Defendant’s plea was

knowing, voluntary, and supported by a factual basis, accepted it, and set the case for sentencing.

          Almost immediately after entering his guilty plea, the defendant began filing pro se

handwritten pleadings. On June 13, 2022, the Court directed the Government to respond to ECF

92, which it is construing as a Motion for Withdrawal of Plea. ECF 101. The Government filed

its response on June 21, 2022, ECF 105, and the Court has not yet ruled on the Defendant’s

motion.

          On August 16, 2022, the Court ordered the Government to respond to ECF 111 and 113,

which it is construing as a Motion to Dismiss for Brady Violation and a Motion to Obtain Copies

of Sealed Pleadings, respectively.

                                            ARGUMENT

  I.      The Defendant’s Motion to Obtain Copies of Sealed Pleadings (ECF 113) should be
          denied.

          The Defendant moves to obtain copies of sealed pleadings filed by the Government on

April 1, 2022, ECF 55-60, and by his own counsel on April 20, 2022, so he can “refer to them in

subsequent filings.” ECF 113. For the following reasons, the Defendant’s motion should be

denied.




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       The Defendant is seeking access to the Government’s motions in limine, which were filed

under seal because they contain sensitive information that is further discussed in the

Government’s Motion to Seal at ECF 55. At the time of these filings, the Defendant was

represented by the Federal Public Defender and thus had access to these documents through his

counsel. The Defendant still has access to these documents through stand-by counsel, who

received, upon counsel’s appointment in this case, a copy of the Government’s prior pleadings.

To the extent stand-by counsel cannot locate these items, the Government will furnish a copy to

him. The Government consents to the Defendant being able to review these documents in the

presence of his stand-by counsel, but he should not be provided with copies of the filings which

could potentially be seen by other inmates at the correctional facility. Further, to the extent the

Defendant seeks to use any such information in “subsequent filings,” as he has suggested, such

filings should be made under seal.

       The Government did not receive the sealed pleadings from April 20, 2022 that the

Defendant is seeking and therefore cannot take a position on the substance of those pleadings.

These pleadings were filed by the Defendant’s previous counsel, the Federal Public Defender.

The Defendant’s attorney inquiry hearing occurred on April 20, 2022. The Government was not

present during that hearing. The Government presumes the sealed filings from April 20, 2022 are

related to the Defendant’s attorney inquiry hearing. Nevertheless, the Government anticipates

that the Defendant could obtain access to such documents through appointed stand-by counsel or

his prior counsel.




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 II.   The Defendant’s Motion to Dismiss For A Brady Violation (ECF 111) is meritless
       and should be denied.
       The Defendant’s filing at ECF 111 purports to be a motion to dismiss his case for a

“Brady Violation.” The Defendant’s motion is meritless and should be denied for a myriad of

reasons.

       First, the Defendant’s motion is not a Brady motion. Instead, the Defendant’s motion

cites the denial of “effective assistance of Counsel guaranteed by the Sixth Amendment, United

States Constitution” as the reason for his request for dismissal. ECF 111. This Court already

denied the Defendant’s Motion to Dismiss for Ineffective Assistance of Counsel, see ECF 116,

because the Defendant is representing himself. Also, claims of ineffective assistance of counsel

must be raised in a 28 U.S.C. § 2255 motion for post-conviction relief rather than on direct

appeal, unless the appellate record conclusively demonstrates ineffective assistance. United

States v. Benton, 523 F.3d 424, 435 (4th Cir.2008). At this time, the Defendant has not been

sentenced and has a pending motion to withdraw his guilty plea. Moreover, the Defendant chose

to represent himself before he plead guilty, and the Court went through extraordinary efforts to

ensure the Defendant’s plea was knowing, intelligent, and voluntary. See ECF 105. A defendant

who elects to represent himself cannot thereafter complain that quality of his own defense

amounted to denial of effective assistance of counsel. See Faretta v. California, 422 U.S. 806,

834 (1975).

       Second, although not contained in his “Motion to Dismiss for a Brady Violation,” the

Defendant’s “Supplement to Motion to Withdraw Guilty Plea” includes a reference to three

documents that the Defendant claims not to have received, which might be construed as a

complaint under Brady. See ECF 112 at 3-4. The Defendant initially alleges he never received

three letters drafted by the Victim: an April 5, 2022 letter, a June 6, 2022 letter, and a June 21,


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2022 letter. Id. There are three components of a Brady violation: (1) the evidence at issue must

be favorable to the accused; (2) that evidence must have been suppressed by the government,

either willfully or inadvertently; and (3) prejudice must have ensued. Strickler v. Greene, 527

U.S. 263, 281–82 (1999). It is the Defendant’s burden to show all three elements. Fullwood v.

Lee, 290 F.3d 663, 685 (4th Cir. 2002). Here, Defendant has not met his burden as his “motion”

fails to show any of the three elements.

       In the same paragraph where the Defendant alleges he never received the letters, he

admits that he already possesses the letters. ECF 112 at 4. He clearly states, “[I] have all 3 of the

letters. . . .” Consequently, even if he could satisfy the first two elements of a Brady violation,

which he cannot, there can be no prejudice. See United States v. Higgs, 663 F.3d 726, 735 (4th

Cir. 2011) (“There is no Brady violation if the evidence is available to the defense from other

sources or the defense already possesses the evidence); Fullwood v. Lee, 290 F.3d 663, 686 (4th

Cir.2002) (finding information actually known by the defendant falls outside the ambit of the

Brady rule).

       Additionally, the Government provided all of the Defendant’s attorneys—the Federal

Public Defenders and stand-by-counsel—with the April 5, 2022 letter. The Government provided

the April 5, 2022 letter to the Federal Public Defenders in its tenth discovery production on April

6, 2022. The Defendant discharged the Federal Public Defenders on April 20, 2022 after an

attorney inquiry hearing. After that hearing, new stand-by counsel was appointed to assist the

Defendant who elected to proceed pro se. The Government promptly provided stand-by counsel

with all discovery materials on April 28, 2022, including the April 5, 2022 letter.

       The Defendant claims he needs the letters “so i can have time to prepare a proper defence

[sic].” ECF 112 at 4. But the Defendant plead guilty on May 10, 2022. The June 6, 2022 letter



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and the June 21, 2022 letter post-date his guilty plea. Thus, the letters cannot be material because

they did not exist at the time of his guilty plea. United States v. Bartko, 728 F.3d 327, 338 (4th

Cir.2013) (finding evidence is “material” only if it is “likely to have changed the verdict”).

Additionally, the two June 2022 letters contain the same substance as the April 5, 2022 letter

disclosed through the Defendant’s counsel. The June 2022 letters are therefore not material as

they contain information already available to the Defendant.

       Moreover, both of the June 2022 letters were, and still are, posted to the docket. The June

6, 2022 letter is ECF 96, and is publicly available. No Brady violation exists when the evidence

is publicly available. United States v. Willis, 277 F.3d 1026, 1034 (8th Cir.2002) (“Publicly

available information which the defendant could have discovered through reasonable diligence

cannot be the basis for a Brady violation.”).

       The June 21, 2022 letter is ECF 106. Though this document is sealed, and thus not

publicly available, the letter is available to Defendant’s stand-by counsel. The Defendant can

merely request the letter from the Court through stand-by counsel. Even though the Defendant

claims to already possess the letter, as with the sealed filings discussed previously, the

Government has no objection to the Defendant reviewing this letter in the presence of stand-by

counsel. There can be no Brady violation when the evidence is equally available to all parties.

United States v. Catone, 769 F.3d 866, 871–72 (4th Cir. 2014) (“No Brady violation exists when

the evidence is available to the defense from other sources or through a diligent investigation by

the defense.”) (citing Higgs, 663 F.3d at 735).




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                                       CONCLUSION

       For the reasons stated above, the Court should deny the Defendant’s motions without a

hearing.

                                           Respectfully submitted,

                                           Erek L. Barron
                                           United States Attorney

                                           __/s/________________________
                                           Jared C. Engelking
                                           Special Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 19, 2022, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF System, that I emailed a copy to Defendant’s stand-by

counsel, Mark Hall, and that I sent a copy to the Defendant via U.S. mail.


                                             __/s/________________________
                                             Jared C. Engelking
                                             Special Assistant United States Attorney




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